
















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NOS. 2012-01, 2013-01 &amp; 2015-01






OCTAVIO CASTENEDA d/b/a O. CASTENEDA'S BAIL BONDS CO., Appellant



v.



THE STATE OF TEXAS





ON APPELLANT'S PETITION FOR DISCRETIONARY REVIEW


FROM THE THIRTEENTH COURT OF APPEALS


HIDALGO  COUNTY





		Johnson, J., filed a dissenting opinion, joined by Meyers, Keasler, and
Hervey, JJ.


D I S S E N T I N G   O P I N I O N 



	For the reasons expressed in the Court's opinion on original submission, Casteñeda v. State, Nos.
2012-01, 2013-01, 2014-01, 2015-01, 2016-01, 2003 Tex. Crim. App. LEXIS 162 (Tex. Crim. App.
July 2, 2003), I respectfully dissent.

							Johnson, J.


En banc

Filed: June 30, 2004

Publish


